                             UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF MICHIGAN
                                        OFFICE OF
                                    DANIEL S. OPPERMAN
                             UNITED STATES BANKRUPTCY JUDGE

226 W. SECOND STREET                                                      111 FIRST STREET
FLINT, MICHIGAN 48502                                                     BAY CITY, MICHIGAN 48708
(810) 235-3220                                                            (989) 894-8850


                                                May 23, 2019


     Ms. Laura Lucas
     114 Twin Oaks Drive
     Lapeer, Michigan 48446

            Re:     Tracy B. Sutton v. Laura Lynne Lucas
                    Adversary Proceeding Case No. 19-3039-dof
                    Bankruptcy Case No. 19-30218-dof

     Dear Ms. Lucas,

            Pursuant to your answer to complaint filed with the Court, it appears that you are
     unrepresented by counsel.

            You have the right to represent yourself without the benefit of counsel if that is your wish.

            If, however, the reason that you are unrepresented is financial, the Court may appoint an
     attorney for you if it believes that your finances warrant such an action. If you wish to pursue such
     an appointment, please complete the enclosed Application for Pro Bono Counsel and return it by
     June 20, 2019 to:

                                           Clerk of the U.S. Bankruptcy Court
                                           Attn: Pro Bono Program
                                           211 West Fort Street
                                           Detroit, Michigan 48226.

                                                   Sincerely,



                                                   Daniel S. Opperman
                                                   United States Bankruptcy Judge
     DSO/seh
     Enclosure




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